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13                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
14
     KELVIN HERNANDEZ ROMAN, BEATRIZ )                   Case No. 5:20-cv-00768
15   ANDREA FORERO CHAVEZ, MIGUEL                    )
16   AGUILAR ESTRADA, on behalf of themselves )          ADELANTO COVID
     and all others similarly situated,              )
17                                                   )   MEMORANDUM OF
18                Petitioners-Plaintiffs,            )   POINTS AND
                                                     )   AUTHORITIES IN
19   v.                                              )   SUPPORT OF
20                                                   )   EMERGENCY MOTION
     CHAD F. WOLF, Acting Secretary, U.S.            )   FOR PRELIMINARY
21   Department of Homeland Security; MATTHEW )          INJUNCTION
22   T. ALBENCE, Deputy Director and Senior          )
     Official Performing the Duties of the Director, )
23   U.S. Immigration and Customs Enforcement; )
24   DAVID MARIN, Director of the Los Angeles )
     Field Office, Enforcement and Removal           )
25   Operations, U.S. Immigration and Customs        )
26   Enforcement; and JAMES JANECKA, Warden, )
     Adelanto ICE Processing Center,                 )
27
28   Respondents-Defendants.
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1     I.    INTRODUCTION
2           As this Court knows, the United States currently faces a health crisis unlike any
3     it has encountered in over one hundred years. The COVID-19 pandemic has to date
4     infected more than 500 thousand people in this country, and killed over twenty
5     thousand.1
6           In the face of this unprecedented threat, the CDC has recommended that
7     individuals maintain a distance of six feet at all times and use face coverings whenever
8     in public places.2 95 percent of Americans—about 316 million people—have been
9     ordered by their governors and mayors to stay at home to implement that guidance.3
10    Prisons in California and across the country have taken drastic steps to reduce the
11    detained population, recognizing the mortal danger posed by COVID-19 to those in
12    close confinement.4
13          Yet, as the institutions of American life dramatically alter their existing
14    practices, the United States Immigration and Customs Enforcement (“ICE”) stands
15    virtually alone in defying the medical and societal consensus. In filing after filing
16    before this Court, the Government has maintained that it is not required to implement
17    social distancing to prevent the spread of COVID-19 among civil detainees. It
18    maintains it can keep immigrants in its custody safe just by improving sanitation
19    protocols, testing and isolating individuals after they exhibit symptoms, and taking
20
      1
21      See Cases in U.S., Ctrs. for Disease Control and Prevention,
      https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html (last
22    visited Apr. 13, 2020).
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23    Centers for Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-
      ncov/prevent-getting-sick/prevention.html (last visited Apr. 13, 2020).
24    3
        Sarah Mervosh, et al., See Which States and Cities Have Told Residents to Stay at
25    Home, N.Y. Times (updated Apr. 7, 2020),
      https://www.nytimes.com/interactive/2020/us/coronavirus-stay-at-home-order.html.
26    4
        See Cal. Exec. Order N-36-20 (March 24, 2020), https://www.gov.ca.gov/wp-
      content/uploads/2020/03/3.24.20-EO-N-36-20.pdf; CDCR announces plan to further
27    protect staff and inmates from the spread of COVID-19 in state prisons, California
      Department of Corrections and Rehabilitation (Mar. 31, 2020),
28    https://www.cdcr.ca.gov/news/2020/03/31/cdcr-announces-plan-to-further-protect-
      staff-and-inmates-from-the-spread-of-covid-19-in-state-prisons/.
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1    other measures short of what the CDC and governments at all levels have imposed on
2    everyone else.
3          This Court has already recognized that ICE’s position is flawed, ruling that
4    “[u]nder the Due Process Clause, a civil detainee cannot be subject to the current
5    conditions of confinement at Adelanto.” Castillo v. Barr (“Castillo TRO”), Case No.
6    CV 20-00605 TJH (AFMx), 2020 WL 1502864, at *5 (C.D. Cal. Mar. 27, 2020)
7    (citing Helling v. McKinney, 509 U.S. 25, 32 (1993)). Dr. Todd Schneberk, a board
8    certified emergency medicine physician and assistant professor of clinical emergency
9    medicine at the University of Southern California, has concurred, stating that “[f]rom
10   a public health perspective, the only effective action to combat COVID-19 at Adelanto
11   that is practically available at this time would be to implement social distancing.”
12   Decl. of Dr. Todd Schneberk (“Schneberk Decl.”) ¶ 39. And as Dr. Robert Greifinger,
13   a physician with thirty years of experience in medical care for detained populations,
14   has further explained, “[s]ocial distancing . . . will be impossible in Adelanto without
15   significant downsizing.” Decl. of Dr. Robert B. Greifinger (“Greifinger Decl.”) ¶ 25.
16   Accordingly, “[r]elease is the most important means of mitigating the spread of
17   COVID-19” at the facility. Id. ¶ 24; see also id. ¶¶ 26–27 (explaining why social
18   distancing is impossible under current conditions at Adelanto).
19         This Court’s system-wide intervention is urgently needed. Just one week ago,
20   there was only one confirmed case of COVID-19 in the entire ICE detention system.
21   Today, ICE has announced there are confirmed cases at over two dozen facilities.5
22   COVID-19 is assuredly coming to Adelanto. And “[i]f authorities wait until an
23   outbreak occurs to release detainees, it will be far too late. . . The outbreak will spread
24   like wildfire among detainees who are trapped in the facility in concentrated
25   numbers.” Schneberk Decl. ¶ 45.
26
     5
27    See U.S. Immigration and Customs Enforcement, Confirmed Cases, ICE Guidance
     on COVID-19 (last updated Apr. 13, 2020, 11:43 a.m.),
28   https://www.ice.gov/coronavirus (click on “Confirmed Cases”).


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1          Understanding this imminent danger, this Court has ordered the immediate
2    release of at least two dozen individuals and placed them under appropriate conditions
3    of confinement outside of Adelanto.6 That individualized relief has safeguarded those
4    detainees’ fundamental rights and may have even saved their lives.
5          Many more individual claims are likely to follow. But individualized habeas
6    relief for the over 1,300 detainees at Adelanto will be an enormous tax on this Court’s
7    resources, will likely take too long and would, at best, result in constitutional rights
8    turning on the happenstance of whether a detainee has access to a lawyer, or on their
9    language skills and education level. That is fundamentally unfair. The appropriate
10   remedy for the system-wide crisis at Adelanto is not a flood of individual habeas
11   petitions, but system-wide relief for all those whose rights are being violated.
12         Plaintiffs thus propose that this Court issue an injunction to implement a
13   truncated system for considering Proposed Class Members’ claims for relief, similar
14   to the one now utilized for ICE detainees in the District of Massachusetts. See Savino
15   v. Sousa, Mem. & Order at 28, 29, Case No. 20-cv-10617-WGY (D. Mass. Apr. 8,
16
     6
       Castillo v. Barr (“Castillo TRO”), Case No. CV 20-00605 TJH (AFMx), 2020 WL
17   1502864, at *11 (C.D. Cal. Mar. 27, 2020) (ordering two detainees released); TRO
     and Order to Show Cause at 12, Fraihat v. Wolf (“Fraihat TRO”), Case No. ED-
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20   Cal. Apr. 2, 2020), ECF No. 12; TRO and Order to Show Cause at 2, Munoz v. Wolf,
     Case No. EDCV 20-00625 TJH (SHKx), (C.D. Cal. Apr. 2, 2020), ECF No. 14;
21   Robles Rodriguez, Case No. 5:20-CV-00527 (C.D. Cal. Apr. 3, 2020) ECF Nos. 35-
     39, 42-43 (granting temporary restraining orders on behalf of six Adelanto
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28   2020), ECF No. 12; TRO and Order to Show Cause, Moreno v. Wolf, Case No. 5:20-
     cv-00718 (TJH) (C.D. Cal. Apr. 9, 2020), ECF No. 13.
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1    2020), ECF No. 64. Such an approach would allow this Court to assess the individual
2    circumstances of detainees at Adelanto, and craft appropriate conditions of release, as
3    it has done in the habeas petitions it has already granted. But it would also allow for a
4    systematic and expeditious process that fairly adjudicates and vindicates the rights of
5    all those who need relief.
6          Alternatively, the Court could establish a different system for class-wide relief,
7    or otherwise mandate that ICE implement the social distancing measures necessary to
8    protect the vulnerable individuals within its care. What is critical is that the systemic
9    crisis at Adelanto is addressed at the systemic level. For many of the detainees
10   currently trapped at the facility, the Government’s refusal to act will be a death
11   sentence. It is this Court’s profound responsibility to intervene. Both the Constitution
12   and common decency demand nothing less.
13   II.   FACTS
14         A.     COVID-19 Poses Grave Risk of Harm to Plaintiffs.
15         COVID-19 is a deadly pandemic. In the United States alone, there are 554,849
16   cases and 21,942 confirmed deaths,7 and in California more than 22,348 cases and 687
17   confirmed deaths.8 In San Bernardino County, COVID-19 diagnoses have increased
18   exponentially with no end in sight. This Court noted on March 27, 2020 that the
19   number of confirmed cases in San Bernardino County has “tripled over the past five
20   days.” Castillo TRO at *5. As of April 13, 2020, there are 977 identified COVID-19
21   cases in San Bernardino County, and 31 deaths—over 500% more cases since the
22   Court’s observation in Castillo.9
23
     7
24     See Cases in U.S., Ctrs. for Disease Control and Prevention,
     https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html (last
25   visited Apr. 13, 2020).
     8
       See COVID-19, California Department of Public Health,
26   https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019.aspx
     (updated Apr. 13, 2020).
27   9
       Coronavirus 2019, San Bernardino County,
28   http://wp.sbcounty.gov/dph/coronavirus/ (last visited Apr. 13, 2020).


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1           Nearly every adult appears to be at risk of infection.10 Although certain
2    characteristics such as advanced age or underlying health conditions exacerbate the
3    risk of death or serious illness from COVID-19, early CDC data shows nearly 40% of
4    COVID-19 patients hospitalized in the U.S. have been between the ages of 18 and 54.
5    Schneberk Decl. ¶¶ 14, 16. In New York, approximately one-third of the patients
6    between the ages of 30 and 39 who died from COVID-19 did not appear to have any
7    risk factors, Schneberk Decl. ¶ 17, and physicians treating COVID-19 have noted the
8    “randomness” with regard to which young people are unable to survive contraction of
9    the illness.11
10          Moreover, many individuals have risk factors that have not been diagnosed. For
11   example, the CDC has stated that about 11 million adults in the U.S. have high blood
12   pressure but do not know it.12 Under-diagnosis of risk factors is particularly likely
13   among Plaintiffs and other detainees at Adelanto, who are part of a population that
14   often lacks adequate access to healthcare. Among the nonelderly population, 23% of
15   lawfully present immigrants and more than four in ten (45%) undocumented
16   immigrants were uninsured as of March 2020, compared to less than one in ten (9%)
17   citizens,13 and the lack of health insurance often results in a failure to identify chronic
18   diseases or other health conditions.14 See also Schneberk Decl. ¶ 15 (noting that
19
20   10
        See Melissa Davey, What is a pandemic and does it change the approach to
     coronavirus?, The Guardian (Mar. 14, 2020),
21   https://www.theguardian.com/world/2020/mar/14/what-is-a-pandemic-coronavirus-
     covid-19.
22   11
        Chris Mooney, Brady Dennis and Sarah Kaplan, Hundreds of young Americans
23   have now been killed by the coronavirus, data shows, Washington Post (Apr. 8,
     2020), https://www.washingtonpost.com/health/2020/04/08/young-people-
24   coronavirus-deaths/.
     12
        Centers for Disease Control, 5 Surprising Facts About High Blood Pressure,
25   https://www.cdc.gov/features/highbloodpressure/index.html (last visited Apr. 13,
     2020).
26   13
        Health Coverage of Immigrants, Kaiser Family Foundation (Mar. 18, 2020),
27   https://www.kff.org/disparities-policy/fact-sheet/health-coverage-of-immigrants/.
     14
        Jennifer Tolbert et al., Key Facts about the Uninsured Population, Kaiser Family
28   Foundation (Dec. 13, 2019), https://www.kff.org/uninsured/issue-brief/key-facts-
     about-the-uninsured-population/.
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1    individuals without consistent access to healthcare may not be aware of pre-existing
2    conditions that render them high-risk for COVID-19).
3          There is no vaccine, antiviral treatment, or cure for COVID-19. The disease is
4    believed to spread through “droplets” that can be transmitted during close
5    interpersonal contact of about six feet as well as through touching surfaces
6    contaminated by respiratory droplets produced by a sick person. See Greifinger Decl.
7    ¶ 5; Schneberk Decl. ¶¶ 7–8. And evidence shows individuals infected with COVID-
8    19 can transmit it to others even if they have no symptoms. Schneberk Decl. ¶ 9.
9          Because of its highly contagious nature, the only known effective measure to
10   reduce the risk of injury or death from COVID-19 is to prevent people from being
11   infected in the first place. Greifinger Decl. ¶ 4. In the absence of a comprehensive
12   testing regime, “social distancing,” or maintaining six feet of separation at all times
13   from other people, is the only effective means of stopping the spread of the disease in
14   the long run. Greifinger Decl. ¶ 4; Schneberk Decl. ¶ 39.
15         B.     Plaintiffs Face an Imminent and Substantial Risk of Contracting
                  COVID-19 in Adelanto.
16
17         Dr. Greifinger explains that “[j]ails and detention centers are congregate
18   environments where the risk of infection and infectious spread is extraordinarily
19   high.” Greifinger Decl. ¶ 12. At Adelanto, as in other similar environments, there is a
20   heightened risk of infection due to the lack of adequate hygiene and the inability of
21   detainees to practice social distancing. Id. ¶¶ 13–15; see also Schneberk Decl. ¶ 38
22   (“Because of the structure and conditions at Adelanto, detainees face a dramatically
23   reduced ability to protect themselves by social distancing than they would in the
24   community, and therefore face a significantly higher risk of being exposed to and
25   infected by contagious diseases like COVID-19.”).
26         Defendants’ own medical subject matter experts have recognized that
27   conditions like those present currently at Adelanto amount to a “tinderbox scenario”
28   for the rapid spread of COVID-19. See Letter from Drs. Scott A. Allen & Josiah Rich

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1    to Rep. Bennie Thompson, et al. (Mar. 19, 2020), https://www.documentcloud.org/
2    documents/6816336-032020-Letter-From-Drs-Allen-Rich-to-Congress-Re.html#
3    document/p4/a557238; see also Schneberk Decl. ¶¶ 23–35; Greifinger Decl. ¶¶ 2–17.
4          Similar conditions have led to disastrous results in other congregate facilities.
5    In three weeks across March and April, the jail at Rikers Island in New York jumped
6    from no cases among inmates to 273 cases, a higher rate of infection than in the most
7    infected places in the world; four corrections staff members and one inmate have died.
8    Suppl. Greifinger Decl. ¶ 13. The Cook County Jail has likewise seen an alarming rise
9    in cases: the Jail went from two confirmed inmate cases on March 23, 2020, to 234
10   confirmed inmate cases on April 7, 2020; one inmate has died. Id ¶ 14. As of April
11   13, 2020, there were at least 72 confirmed cases among detainees in ICE custody,
12   including twelve at the Otay Mesa Detention Center in San Diego.15
13         Dr. Greifinger details the numerous ways in which ICE’s response to the
14   pandemic has been “wholly inadequate.” Greifinger Decl. ¶¶ 17–24. The descriptions
15   of Plaintiffs and individuals recently released from Adelanto confirm ICE’s utter
16   failure to protect those who are detained there. Despite the crowded, communal
17   facilities, detainees have no access to masks. See Decl. of Paola Rayon Vite (“Rayon
18   Vite Decl.”) ¶ 13; Decl. of Luis Lopez Salgado (“Lopez Salgado Decl.”) ¶ 20; Decl.
19   of Charleston Edward Dacoff (“Dacoff Decl.”) ¶ 28; Decl. of Ruth Calvillo (“Calvillo
20   Decl.”) ¶ 20.16 Hand sanitizer dispensers are empty. Calvillo Decl. ¶ 22. Guards and
21
     15
        U.S. Immigration and Customs Enforcement, Confirmed Cases, ICE Guidance on
22   COVID-19 (last updated Apr. 13, 2020, 11:43 a.m.),
     https://www.ice.gov/coronavirus (click on “Confirmed Cases”).
23   16
        ICE has placed severe restrictions on attorneys’ ability to access their clients at
24   Adelanto, including limitations on in-person visits unless attorneys bring their own
     personal protective equipment, which is obviously in very short supply. See Motion
25   for TRO at 10-17, Torres v. Nielsen, Case No. 18-cv-02602 (C.D. Cal), Dkt. No.
     127-1 (describing current limitations on attorney-client communication at Adelanto
26   and seeking emergency relief to ensure detainees maintain basic access to counsel
     during the COVID-19 pandemic); Decl. of Gabriel Valdez (“Valdez Decl.”) ¶ 26
27   Robles Rodriguez v. Wolf, Case No. 5:20-cv-00627-TJH-GJS (C.D. Cal. Apr. 7,
     2020), ECF No. 45-1. In addition, ICE provides no effective way for attorneys to
28   conduct confidential calls with clients detained at Adelanto. See Mot. for TRO at 10-


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1    medical staff generally do not wear masks, though they frequently stand in close
2    proximity to detained individuals. See Calvillo Decl. ¶¶ 13, 20–21; Lopez Salgado
3    Decl. ¶ 19; Rayon Vite Decl. ¶ 13; see also Schneberk Decl. ¶ 29. Staff arrive and
4    leave on a shift basis, and new detainees continue to arrive at the facility, but there is
5    no attempt to test staff or detainees for asymptomatic infection. Schneberk Decl. ¶ 29;
6    Greifinger Decl. ¶ 22; Dacoff Decl. ¶ 32; see also Gov’t Response to Order to Show
7    Cause (“Robles Rodriguez Gov’t Response”) at 8–9, Att. 1, Decl. of Gabriel Valdez
8    (“Valdez Decl.”) ¶ 14, Robles Rodriguez v. Wolf, Case No. 5:20-cv-627-TJH-GJS
9    (C.D. Cal. Apr. 8, 2020, ECF No. 45-1. Even detainees who are experiencing
10   symptoms of COVID-19, such as fever and cough, are not tested. Decl. of Jose
11   Hernandez Velasquez (“Hernandez Velasquez Decl.”) ¶ 18; accord Rayon Vite Decl.
12   ¶¶ 18–19; Dacoff Decl. ¶ 32.
13         C.     Adequate Social Distancing Is Impossible At Current Population
                  Levels Within Adelanto
14
15         Although the CDC now recommends wearing face coverings as an “additional”
16   measure,17 staying away from others remains the “cornerstone” of the agency’s
17   recommendations.18 As Drs. Greifinger and Schneberk explain, social distancing is
18   crucial to mitigating the spread of COVID-19. Greifinger Decl. ¶ 11; Schneberk Decl.
19   ¶ 39. If detainees are unable to maintain an appropriate distance from one another or
20
21   17, Torres v. Nielson, Case No. 18-cv-02602 (C.D. Cal. Mar. 26, 2020), ECF No.
     127-1. As a result, and because of the urgency of the situation, in lieu of declarations
22   from Plaintiffs-Petitioners themselves, the attorneys representing Plaintiff-
     Petitioners in their administrative removal proceedings have provided declarations
23   describing the facts of their cases. A temporary restraining order requiring that the
     government take steps to improve access to counsel at Adelanto was granted on
24   April 11, 2020. Torres v. Nielson, Case No. 18-cv-02602 (C.D. Cal), Dkt. No. 144.
     17
        Recommendation Regarding the Use of Cloth Face Coverings, Especially in Areas
25   of Significant Community-Based Transmission, Centers for Disease Control and
     Prevention (updated Apr. 3, 2020), https://www.cdc.gov/coronavirus/2019-
26   ncov/prevent-getting-sick/cloth-face-cover.html.
     18
27      Id.; see also The President’s Coronavirus Guidelines for America – 30 Days to
     Slow the Spread (Mar. 16, 2020), https://www.whitehouse.gov/wp-
28   content/uploads/2020/03/03.16.20_coronavirus-guidance_8.5x11_315PM.pdf.


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1    staff, they face a dire risk of COVID-19 transmission, including from individuals who
2    are pre- or asymptomatic. See Schneberk Decl. ¶ 9; Greifinger Decl. ¶ 5.
3            Nonetheless, the Government has expressed in numerous filings before this
4    Court that it has no intention of engaging in meaningful social distancing at Adelanto,
5    dismissing such practices as “idealized safety precaution[s].”19 But even if the
6    Government were motivated to try to implement some form of social distancing, the
7    physical footprint of the Adelanto facility is simply not compatible with keeping 1,300
8    detainees and numerous staff members six feet apart at all times. This is so for several
9    reasons.
10           First, the number of detainees housed in each sleeping area at Adelanto makes
11   social distancing impossible. In Adelanto West, detainees are forced to sleep in cells
12   that house between four and eight people in a space that is as small as eight by ten
13   feet. Schneberk Decl. ¶ 26; Dacoff Decl. ¶ 7; Decl. of Jose Robles Rodriguez (“Robles
14   Rodriguez Decl.”) ¶ 7; accord Hernandez Velasquez Decl. ¶ 6. Bunk beds are placed
15   approximately 2.5 to 3 feet apart. Dacoff Decl. ¶ 7. Dormitories are constituted of 18
16   cells each, containing up to 72 people. Dacoff Decl. ¶ 11; Decl. of Jessica Bansal
17   (“Bansal Decl.”), Ex. A at 2; id. Ex. B at 22. Detainees in Adelanto East are clustered
18   in pod quadrants, which hold up to 96 detainees in 12 sets of double bunks. Schneberk
19   Decl. ¶ 27; Bansal Decl., Ex. A at 2; id. Ex. B at 22; see Rayon Vite Decl. ¶ 7. But, as
20   Plaintiffs’ medical experts explain, “it would not be possible to achieve adequate
21   social distancing if more than one person slept in each bunk, [or] if bunks were within
22   less than 8–10 feet of each other (to maintain at least a 6 foot distance even as people
23   are getting in and out of the bunks).” Schneberk Decl. ¶ 27; see also Greifinger Decl.
24   ¶ 26. In both Dr. Greifinger and Dr. Schneberk’s professional opinions, it is not
25   possible to achieve social distancing if more than one person is housed in each cell.
26   Schneberk Decl. ¶ 26; Greifinger Decl. ¶¶ 23, 26 (“[S]ocial distancing is impossible
27   when people sleep in small, multi-person rooms and live under conditions that
28
     19
          Robles Rodriguez Gov’t Response at 16.
                                                9
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1    necessarily subject them to close proximity with others multiple times throughout the
2    day.”).
3          Second, detainees share toilets, sinks, and showers with others in their
4    dormitories and pods. Schneberk Decl. ¶ 28; Rayon Vite Decl. ¶¶ 9–11; Lopez
5    Salgado Decl. ¶¶ 11–14; Dacoff Decl. ¶¶ 8, 13; Robles Rodriguez Decl. ¶¶ 9–11. Up
6    to 72 people share one showering area. Dacoff Decl. ¶ 13; Robles Rodriguez Decl. ¶
7    10. Showers are typically crowded with people and placed so closely together that,
8    when standing in one shower stall, “you could reach out your hand and press the button
9    for the shower adjacent to yours,” Dacoff Decl. ¶¶ 14; 18. Again, in the opinions of
10   Plaintiffs’ medical experts, it is not possible “to achieve adequate social distancing
11   and hygiene in communal bathroom[s]” unless “people [are] at least six feet apart at
12   all times” and the “facilities [are] thoroughly disinfected after each use”—which is
13   impossible if 72 people are confined to single shower area. Schneberk Decl. ¶ 28; see
14   also Greifinger Decl. ¶ 26
15         Third, detainees congregate every day in pods and dining areas, with as little as
16   a few inches between them. See Schneberk Decl. ¶ 28; Hernandez Velasquez Decl. ¶
17   9. Food preparation and service is communal, with six to ten people eating at the same
18   table. Robles Rodriguez Decl. ¶ 11; see also Dacoff Decl. ¶¶ 19–21. Detainees are
19   responsible for cleaning the dining areas, but in Adelanto West, “the only thing we
20   [are] given to clean [is] a dirty towel and a bucket of dirty water,” which is used again
21   and again. Robles Rodriguez Decl. ¶ 11; see also Dacoff Decl. ¶ 20. In Adelanto East,
22   detainees only have access to cleaning supplies during mealtimes: “So either we [can]
23   eat, or we [can] clean.” Rayon Vite Decl. ¶ 11. But even if Adelanto’s grossly
24   inadequate sanitation were improved, current population levels preclude keeping each
25   detainee anything near six feet apart from each other during communal mealtimes.
26         Plaintiffs’ medical experts therefore conclude that release of detainees is crucial
27   to limit the risk of infection “for the individuals released, for those who remain
28   detained, and for the general public.” Greifinger Decl. ¶ 24. As Dr. Greifinger

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1    explains, “this would be true even if the conditions inside the facility were
2    impeccable.” Id.; see also Schneberk Decl. ¶ 38 (“Because of the structure and
3    conditions at Adelanto, detainees face a dramatically reduced ability to protect
4    themselves by social distancing than they would in the community”).
5           That is precisely why multiple jurisdictions, including Los Angeles, CA,
6    Detroit, MI, Travis County, TX, New York City, and the entire states of New Jersey
7    and Iowa have released thousands of people from criminal custody, acknowledging
8    the grave threat that an outbreak in jails and detention centers poses.20 Other public
9    officials have likewise called for the release of eligible individuals from detention.
10   The former Acting Director of ICE, John Sandweg, has advocated releasing
11   individuals to combat the spread of COVID-19 in detention centers, and has stated
12   “ICE has the operational capacity to quickly and drastically reduce the population of
13   civil immigration detainees.” Motion for TRO Ex. 19, Sandweg Decl. ¶ 9, Thompson
14   v. Tsoukaris, Case No. 1:20-cv-01449-SDG (N.D. Ga. Apr. 3, 2020), ECF No. 4-20.
15   III.   LEGAL STANDARD
16          Plaintiffs are entitled to a preliminary injunction if they show: (1) a likelihood
17   of success on the merits; (2) they are likely to suffer irreparable harm in the absence
18   of relief; (3) the balance of equities tips in their favor; and, (4) an injunction is in the
19   public interest. See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). The
20   Ninth Circuit employs a sliding scale approach, under which a stronger showing of
21   one element may offset a weaker showing of another. See Pimentel v. Dreyfus, 670
22   F.3d 1096, 1105 (9th Cir. 2012). Thus, a preliminary injunction may issue where
23   “serious questions going to the merits [are] raised and the balance of hardships tips
24   sharply in [plaintiffs’] favor.” All. for the Wild Rockies v. Cottrell, 632 F.3d 1127,
25   1131 (9th Cir. 2011) (internal quotation marks omitted). To succeed under the “serious
26   question” test, plaintiffs must show that they are likely to suffer irreparable injury and
27
     20
       See Responses to COVID-19 pandemic, Prison Policy Initiative (Apr. 10, 2020)
28   (collecting instances where jails and prisons have released detainees due to COVID-
     19), https://www.prisonpolicy.org/virus/virusresponse.html#releases.
                                                 11
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1    that an injunction is in the public’s interest. Id. at 1132.
2    IV.   ARGUMENT
3          In multiple orders over the past two weeks, this Court has recognized that
4    “[u]nder the Due Process Clause, a civil detainee cannot be subject to the current
5    conditions of confinement at Adelanto.” Castillo TRO at *5. Those conditions include
6    “sleeping rooms housing four or six detainees with shared sinks, toilets and showers,”
7    potentially infected guards who “regularly rotate through the various holding areas
8    several times a day” without donning protective equipment, and “meal times” where
9    detainees “line up together, sometimes only inches apart, in the cafeteria.” Castillo
10   TRO at *2; see also TRO and Order to Show Cause (“Fraihat TRO”), Fraihat v. Wolf,
11   Case No. ED-CV2000590-TJH, at *4-*5 (C.D. Cal. Mar. 30, 2020). The
12   unconstitutional nature of these conditions does not turn on who is seeking relief;
13   rather, this Court has made clear that everyone currently trapped inside Adelanto is
14   subject to an ongoing violation of their Fifth Amendment rights.
15         The conditions within Adelanto remain fundamentally unchanged despite this
16   Court’s orders. And Plaintiffs here are in even greater danger today than the dozens
17   of detainees this Court has already released because the spread of COVID-19 in the
18   area—from which facility staff commute daily—has dramatically increased in recent
19   days. As of April 13, 2020, there are 977 identified COVID-19 cases in San
20   Bernardino County, and 31 deaths, compared with fewer than 100 identified cases on
21   March 27, the day Castillo was decided.21 All Class members are entitled to—and
22   desperately require—relief for the same reasons as the individuals this Court has
23   already released. This Court should grant the preliminary injunction and order system-
24   wide relief.
25
26
27
28   21
       Coronavirus 2019, San Bernardino County,
     http://wp.sbcounty.gov/dph/coronavirus/ (last visited Apr. 13, 2020).
                                                 12
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           A.     Plaintiffs are Likely to Succeed on the Merits.
1
                  1.    Plaintiffs’ Continued Detention at Adelanto Violates Their
2                       Fifth Amendment Right to Reasonable Safety in Government
                        Custody.
3
           Individuals confined by the government have a right to health and safety. See
4
     Youngberg v. Romeo, 457 U.S. 307, 315–16 (1982). “The rationale for this principle
5
     is simple enough: when the State by the affirmative exercise of its power so restrains
6
     an individual’s liberty that it renders him unable to care for himself, and at the same
7
     time fails to provide for his basic human needs—e.g., food, clothing, shelter, medical
8
     care, and reasonable safety—it transgresses the substantive limits on state action set
9
     by the Eighth Amendment and the Due Process Clause.” DeShaney v. Winnebago Cty.
10
     Dep’t of Soc. Servs., 489 U.S. 189, 200 (1989).
11
           Thus, a plaintiff establishes “a due process violation” if the Government
12
     “placed them in danger,” and “acted with deliberate indifference to a known or
13
     obvious danger in subjecting them to that danger.” Hernandez v. City of San Jose, 897
14
     F.3d 1125, 1137 (9th Cir. 2018) (internal quotations, citations, and alterations
15
     omitted). A plaintiff need not show that the relevant government officials are
16
     “subjectively aware that their [actions are] unreasonable,” only that “a reasonable
17
     official in the circumstances would have appreciated the high degree of risk involved.”
18
     Gordon v. Cty. of Orange, 888 F.3d 1118, 1123, 1125 (9th Cir. 2018). This standard
19
     requires “something akin to reckless disregard.” Id. at 1125. In systemic cases, such
20
     as this, deliberate indifference can be shown by evidence of “systematic or gross
21
     deficiencies in staffing, facilities, equipment, or procedures.” Hernandez v. Cty. of
22
     Monterey, 305 F.R.D. 132, 152–53, 155 n. 138 (N.D. Cal. 2015) (quoting Ramos v.
23
     Lamm, 639 F.2d 559, 575 (10th Cir. 1980)). The key question in such cases is whether
24
     systemic deficiencies “taken as a whole” subject people to a “substantial risk of
25
     serious harm.” See Brown v. Plata, 563 U.S. 493, 505 n.3 (2011).
26
           Furthermore, it is well-settled that a detainee’s constitutional protections extend
27
     to “future harm,” including a “condition of confinement that is sure or very likely to
28

                                               13
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1    cause serious illness and needless suffering the next week or month or year.” Helling,
2    509 U.S. at 33. Constitutional violations therefore can arise from “the exposure of
3    inmates to a serious, communicable disease” even if “the complaining inmate shows
4    no serious current symptoms” and “even though the possible infection might not affect
5    all of those exposed.” Id.; see also Castillo TRO at *4; Hutto v. Finney, 437 U.S. 678,
6    682–83, 687 (1978) (risk of exposing inmates to communicable diseases such as
7    hepatitis and venereal disease violates the Eighth Amendment); DeGidio v. Pung, 920
8    F.2d 525, 526, 533 (8th Cir. 1990) (inadequate screening and control procedures in
9    response to tuberculosis outbreak violated the Eighth Amendment).22
10         Here, as this Court has already recognized, COVID-19 poses a substantial risk
11   of serious harm to Plaintiffs, and Defendants’ response to that imminent risk
12   constitutes reckless disregard for their safety. As this Court explained in its Castillo
13   TRO order, “[t]he law is clear”:
14         [T]he Government cannot put a civil detainee into a dangerous situation,
           especially where that dangerous situation was created by the
15         Government. The Due Process Clause of the Fifth Amendment prohibits
           the Government from exposing an individual to a danger which he would
16         not have otherwise faced. A civil detainee’s constitutional rights are
           violated if a condition of his confinement places him at substantial risk
17         of suffering serious harm, such as the harm caused by a pandemic.
18   Castillo TRO at *3 (internal citations omitted). After carefully surveying the
19   conditions at Adelanto, this Court held that “[u]nder the Due Process Clause, a civil
20   detainee cannot be subject to the current conditions of confinement at [the facility].”
21   Id. at *5. Relying on this holding, this Court has subsequently granted release to at
22
23
     22
       The above discussion relies in part on Eighth Amendment case law. But, because
24   civil detention is governed by the Fifth Amendment rather than the Eighth, even
     conditions short of “deliberate indifference” could be unconstitutional in the
25   immigration context. Jones v. Blanas, 393 F.3d 918, 934 (9th Cir. 2004). A
     condition of confinement violates the Fifth Amendment “if it imposes some harm to
26   the detainee that significantly exceeds or is independent of the inherent discomforts
     of confinement and is not reasonably related to a legitimate governmental objective
27   or is excessive in relation to the legitimate governmental objective.” Unknown
     Parties v. Johnson, Case No. CV-15-00250-TUC-DCB, 2016 WL 8188563, at *5
28   (D. Ariz. Nov. 18, 2016), aff’d sub nom. Doe v. Kelly, 878 F.3d 710 (9th Cir. 2017).
     The conditions described here easily meet that standard.
                                               14
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1    least two dozen more detained individuals—recognizing the continuing inadequacy
2    of the conditions of confinement at Adelanto.
3          In its TRO orders, this Court noted at least four specific conditions that made
4    detainees at Adelanto vulnerable to COVID-19: (1) detainees were not kept “at least
5    6 feet apart from others at all times”; (2) they lived in “sleeping rooms housing four
6    or six detainees with shared sinks, toilets and showers”; (3) they had “meal times”
7    where they “line[d] up together, sometimes only inches apart, in the cafeteria”; and
8    (4) and they were forced to interact with potentially infected guards who “regularly
9    rotate through the various holding areas several times a day” without protective
10   equipment. Castillo TRO at *5, *2; Fraihat TRO at *11, *4–5. None of these
11   conditions have been remedied, and every detainee at Adelanto is subject to them. See
12   supra Pt. II.C. Since, as this Court has already found, “a civil detainee cannot be
13   subject to the current conditions of confinement at Adelanto,” the Government’s
14   continued detention of the proposed class is necessarily unlawful.
15                2.     Remedies Short Of Social Distancing Are Inadequate To
                         Protect Detainees’ Constitutional Rights
16
17         This Court has already recognized the fundamental importance of social
18   distancing in its prior orders. As it has explained, and as Plaintiffs’ experts confirm,
19   the “coronavirus is spread between people who are in close contact—within about 6
20   feet—with one another through respiratory droplets produced when an infected person
21   coughs or sneezes.” Castillo TRO at *2. These “droplets can land in the mouths or
22   noses, or can be inhaled into the lungs, of people who are within about 6 feet of the
23   infected person.” Id.
24         Yet, as this Court also found, and as the evidence Plaintiffs’ present again
25   confirms, the detainees at Adelanto “are not kept at least 6 feet apart from others at all
26   times.” Id. at *5 (emphasis added). To the contrary, they are placed in “dormitory-
27   type sleeping rooms housing four or six detainees with shared sinks, toilets and
28   showers,” and are “forced to touch surfaces touched by other detainees.” Id. at *2, *5.

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1    “At meal times—three times a day—the 60 to 70 detainees in each holding area line
2    up together, sometimes only inches apart, in the cafeteria.” Id. at *2. Accordingly, all
3    detainees at Adelanto are “suffering from a condition of confinement that takes away
4    . . . their ability to socially distance,” id. at *5, and thus protect themselves from
5    COVID-19. See Greifinger Decl. ¶ 23 (explaining why ICE’s strategy of
6    “encouraging” social distancing and reducing occupancy limits in some Adelanto
7    locations is meaningless when sleeping and living facilities are shared); see also
8    Schneberk Decl. ¶¶ 26–29, 36 (explaining why social distancing, “essential” to
9    slowing the spread of the virus, is impossible under current conditions at Adelanto).
10         Despite this Court’s recognition that social distancing of six feet is essential to
11   mitigate the serious risk of COVID-19, the Government in its recent filings makes
12   clear that it has no intention of seriously engaging in social distancing practices at
13   Adelanto. The Government asserts only that “[d]etainees are encouraged to exercise
14   social distancing protocols within their housing units” and “reminded to practice
15   social distancing” in their “group movements” without explaining how they could
16   possibly do so when housed in cramped rooms with six or seven other individuals. See
17   Valdez Decl. ¶ 30; Greifinger Decl. ¶ 23 (“[T]he Valdez Declaration fails to recognize
18   the obvious: social distancing is impossible when people sleep in small, multi-person
19   rooms and live under conditions that necessarily subject them to close proximity with
20   others multiple times throughout the day.”).
21         Indeed, the most telling thing about the Government’s response is its continued
22   assertion that it is not required to address the “three specific conditions at the Adelanto
23   facility” it acknowledges this Court has already “deemed unacceptable risks: (i) going
24   within six feet of others; (ii) touching surfaces touched by other detainees, and (iii)
25   the rotation of guards and staff at Adelanto” without protective equipment. Robles
26   Rodriguez Gov’t Response at 16. In asserting that these measures are not required, the
27   Government concedes that, despite making paper changes, it is doing nothing to
28   actually remedy the constitutional harms this Court has already identified.

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1          Instead, in breathtaking defiance of this Court’s findings, the Government
2    simply belittles those dangers—likening them to the risks associated with going to
3    “the grocery store.” Id. This analogy is as obtuse as it is inhumane. In fact, State-wide
4    guidance discourages all but essential trips to the grocery store and requires that
5    grocery stores “ensure social distancing of six feet per person” and “[l]imit[] the
6    number of customers at any given time as necessary to reduce outdoor/indoor
7    crowding.”23 And while individuals can wear protective equipment and take steps to
8    limit their distance from others for the 30 minutes per week they may spend in a
9    grocery store, the Defendants force Adelanto detainees to live in overcrowded
10   dormitories without any protective equipment for 24 hours a day, 7 days a week. The
11   Government’s false comparison underscores just how much it underestimates the
12   devastating threat posed by COVID-19—and how little it intends to do to stop it at
13   Adelanto. Cf. Greifinger Decl. ¶ 13 (“In mid-March the jail at Rikers Island in New
14   York City had not had a single confirmed COVID-19 case. Rikers now has a rate of
15   infection that is far higher than the infection rates of the most infected regions of the
16   world.”).
17         Indeed, it is simply extraordinary that ICE has not yet taken the minimal step
18   of requiring its guards—who rotate in and out of the facility on a daily basis—to wear
19   face coverings during their interactions with detainees, even as the CDC now
20   recommends such coverings for all Americans when they leave their home.24 Nothing
21   could better illustrate how little regard the Government continues to have for the lives
22   of those detained inside Adelanto.
23         Instead of addressing the areas it acknowledges this Court has already found
24
     23
        See March 16, 2020 Guidance, California Department of Public Health,
25   https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/COVID-
     19/RetailFoodBeverageandOtherRelatedServiceVenues.aspx.
26   24
        Recommendation Regarding the Use of Cloth Face Coverings, Especially in Areas
27   of Significant Community-Based Transmission, Centers for Disease Control and
     Prevention (updated Apr. 3, 2020), https://www.cdc.gov/coronavirus/2019-
28   ncov/prevent-getting-sick/cloth-face-cover.html.


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1    unacceptable at Adelanto, the Government continues to stress that increased sanitation
2    is adequate to prevent the spread of COVID-19 at the facility (while simultaneously
3    maintaining it is not required to do even that limited amount). But this Court has
4    recognized that sanitation measures alone are woefully insufficient to stop the spread
5    of COVID-19.25 See Castillo TRO at *5; Fraihat TRO at *11; see also Schneberk
6    Decl. ¶ 42 (Plaintiffs’ medical expert opining that at Adelanto “it will be very difficult
7    irrespective of the amount of sanitation and hygiene practices employed, to prevent
8    spread in such a confined densely populated space”). If such measures were remotely
9    adequate, government officials across the country would not have made the painful
10   but necessary decision to close high-density settings of all sorts—schools, workplaces,
11   government buildings, and cultural institutions. Nor would people throughout
12   California and all over the nation be advised to stay home for all but the most essential
13   purposes.26
14         The Government has also confirmed, once again, that it has no intention of
15   testing guards or detainees unless they are symptomatic (and has no intention of
16   testing guards at all). See Robles Rodriguez Gov’t Response at 10; Valdez Decl. ¶ 27.
17   That underscores the degree to which ICE protocols are dramatically behind the curve.
18   As this Court has explained, “[t]he science is well established – infected,
19   asymptomatic carriers of the coronavirus are highly contagious.” Castillo TRO at *5.
20   Individuals may be infected and spreading the virus to others for days or even weeks
21   while exhibiting mild symptoms or none at all. Awaiting the development of
22   symptoms before acting is a recipe for an outbreak—which is virtually guaranteed if
23   Defendants maintain their defiance of basic epidemiological consensus. See also
24
25   25
        Declarations from current and former Adelanto detainees also make clear that the
26   Government has not significantly increased sanitation at Adelanto in any meaningful
     way. See supra Pt.II.C.
27   26
        Alicia Lee, These States Have Implemented Stay-At-Home Orders. Here’s What
     That Means for You., CNN (updated Apr. 7, 2020),
28   https://www.cnn.com/2020/03/23/us/coronavirus-which-states-stay-at-home-
     ordertrnd/index.html.
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1    Schneberk Decl. ¶ 11 (explaining that due to lack of testing actual cases are “without
2    a doubt much, much higher” than confirmed cases).
3          B.     Plaintiffs Satisfy the Remaining Factors for Preliminary Injunction
4                 1.    Exposure to a Lethal Virus Which Lacks Any Vaccine,
                        Treatment, or Cure Constitutes Irreparable Harm.
5
6          As this Court explained in Castillo and Fraihat, “[i]t is well established that the
7    deprivation of constitutional rights unquestionably constitutes irreparable injury.”
8    Castillo TRO at *6 (citing Hernandez v. Sessions, 872 F.3d 976, 994 (9th Cir. 2017));
9    Fraihat TRO at *11 (citing same). That alone satisfies this factor.
10         Moreover, the Ninth Circuit recently recognized that the dangerous and unsafe
11   conditions of detention that Plaintiffs face also constitute irreparable harm supporting
12   injunctive relief. Padilla v. U.S. Immigration & Customs Enforcement, Case No. 19-
13   35565, 2020 WL 1482393, at *9 (9th Cir. Mar. 27, 2020) (recognizing that
14   “substandard physical conditions, [and] low standards of medical care” in immigration
15   detention constitute irreparable harm justifying injunctive relief). And the Ninth
16   Circuit has also recognized that there is irreparable harm where government actions
17   threaten to worsen an individual’s health. See M.R. v. Dreyfus, 663 F.3d 1100, 1111
18   (9th Cir. 2011), as amended by 697 F.3d 706 (9th Cir 2012).
19         Each of these reasons supports immediate relief here. The fatality rate for
20   people infected with COVID-19 is estimated to be more than thirty times higher than
21   the seasonal flu.27 For those who survive, infection can permanently damage the lungs
22   and other major organs. See Schneberk Decl. ¶ 22. Once COVID-19 is introduced
23   into a congregate environment like a detention center, it spreads “like wildfire.”
24   Greifinger Decl. ¶ 13; Schneberk Decl. ¶ 42. And the risk is getting closer: as of April
25   13, ICE had confirmed detainees in 21 different detention facilities have tested
26
     27
27     Jo Craven McGinty, Why Doesn’t Flu Tank Economy Like Covid-19?, Wall Street
     Journal, (Apr. 10, 2020), https://www.wsj.com/articles/why-doesnt-flu-tank-
28   economy-like-covid-19-11586511000.


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1    positive for COVID-19, including twelve confirmed detainee cases at Otay Mesa
2    Detention Center in San Diego—up from just one on April 4.28 For these reasons,
3    experts have concluded that “[e]ach day we wait to act increases the danger of serious
4    illness or death due to COVID-19 for not only detainees and staff at Adelanto, but for
5    millions of southern Californians.” Schneberk Decl. ¶ 43; see Greifinger Decl. ¶¶ 19,
6    23. There is no serious dispute the irreparable harm factor is satisfied.
7                 2.     Public Interest and Balance of Equities Weigh Heavily in
                         Plaintiffs’ Favor.
8
9          Here, as in the cases where this Court has already granted relief, “[t]he balance
10   of the equities tip sharply in favor” of Plaintiffs. Castillo TRO at *6; Fraihat TRO at
11   *11. While Plaintiffs “face[] irreparable harm to their constitutional rights and health,”
12   “there is no harm to the Government when a court prevents the Government from
13   engaging in unlawful practices.” Castillo TRO at *6; Fraihat TRO at *11. Indeed,
14   “[f]aced with . . . preventable human suffering, [the Ninth Circuit] ha[s] little difficulty
15   concluding that the balance of hardships tips decidedly in plaintiffs’ favor.”
16   Hernandez, 872 F.3d at 996 (quoting Lopez v. Heckler, 713 F.2d 1432, 1437 (9th Cir.
17   1983)).
18         Moreover, it is in both the Defendants’ and the broader public interest to reduce
19   the threat of an imminent COVID-19 outbreak at Adelanto. ICE has an interest in
20   preventing any potential spread of COVID-19 in its detention facility, which may then
21   affect guards, visitors, attorneys, and others who may potentially interact with
22   detainees. And an outbreak of COVID-19 at Adelanto would doubtless put significant
23   pressure on or exceed the capacity of local health infrastructure. Greifinger Decl. ¶ 14;
24   see Schneberk Decl. ¶ 26. As this Court succinctly explained:
25         The public has a critical interest in preventing the further spread of the
           coronavirus. An outbreak at Adelanto would, further, endanger all of us
26
27
     28
       U.S. Immigration and Customs Enforcement, Confirmed Cases, ICE Guidance on
28   COVID-19 (last updated Apr. 13, 2020, 11:43 a.m.),
     https://www.ice.gov/coronavirus (click on “Confirmed Cases”).
                                                 20
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            – Adelanto detainees, Adelanto employees, residents of San Bernardino
1           County, residents of the State of California, and our nation as a whole.
2    Castillo TRO at *6. Thus, the implementation of measures to permit adequate social
3    distancing would not only impose minimal harm to the government, it would also
4    reduce the health and economic burden on the local community and health
5    infrastructure at large. Schneberk Decl. ¶¶ 42, 48; Greifinger Decl. ¶ 14; Decl. of
6    Jonathan Luis Golob in Supp. of Emergency Ex Parte Appl. for TRO ¶ 11, Robles
7    Rodriguez, Case No. 5:20-cv-627-TJH-GJS (Mar. 30, 2020), ECF No. 18; see also
8    Hernandez, 872 F.3d at 996 (“[T]he general public’s interest in the efficient allocation
9    of the government’s fiscal resources favors granting [relief].”).
10          The Government’s purported interest in public safety does not remotely justify
11   subjecting detainees at Adelanto to life-threatening illness. Although the Government
12   has protested that it should not be required to “shutter” Adelanto, see TRO Opp. at 19,
13   Robles Rodriguez, Case No. 5:20-cv-627-TJH-GJS (Mar. 31, 2020), ECF No. 28, an
14   order from this Court mandating appropriate social distancing would not require
15   shuttering the facility or even releasing all detainees. Rather, Defendants would need
16   only release—under appropriately tailored conditions of supervision—a sufficient
17   number of detainees to ensure that effective social distancing can be maintained at the
18   facility.
19          There is no reason to believe that such an approach would pose any danger to
20   the public. While the Government in its filings appears to be taking the position that
21   every detainee presents such a danger to the community, or is such a flight risk, that it
22   is worth risking a major, life-threatening outbreak at the facility to maintain their
23   detention, that position is patently absurd.29 As this Court has recognized, “the risk
24   that Petitioners, here, will flee, given the current global pandemic, is very low . . . .”
25
26   29
        See, e.g., Robles Rodriguez Gov’t Response at 1–2; Gov’t Response to Order to
     Show Cause, Fraihat v. Wolf, Case No. ED CV 20-cv-590 TJH (KSx) (C.D. Cal.
27   Apr. 6, 2020), ECF No. 20; Resp’ts’ Resp. and Opp. To Pet. For Writ of Habeas
     Corpus and Mot. for TRO or Prelim. Inj., Thaker v. Doll, Case No. 20-cv-00480
28   (M.D. Pa. Mar. 29, 2020), ECF No. 35; Resp’ts’ Opp. To Mot. for TRO at 1, Ortuno
     v. Jennings, Case No. 20-2064 MMC (N.D. Cal. Mar. 30, 2020), ECF No. 25.
                                                21
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1    Castillo TRO at *5.
2          Furthermore, ICE has a range of highly effective tools at its disposal to ensure
3    that individuals report for court hearings and other appointments, including conditions
4    of supervision. See Compl. at ¶ 67; Mem. & Order Granting TRO at 22, Thaker v.
5    Doll, Case No. 20-cv-00480 (M.D. Pa. Mar. 31, 2020), ECF No. 47 (noting “that ICE
6    has a plethora of means other than physical detention at their disposal by which they
7    may monitor civil detainees and ensure that they are present at removal proceedings,
8    including remote monitoring and remote check-ins”). For example, ICE’s conditional
9    supervision program, called ISAP (Intensive Supervision Appearance Program),
10   “relies on the use of electronic ankle monitors, biometric voice recognition software,
11   unannounced home visits, employer verification, and in-person reporting to supervise
12   participants.”30 Compl. ¶ 67 at 19. That program is so effective that a “government-
13   contracted evaluation of this program reported a 99% attendance rate at all
14   immigration court hearings.” Id. It is therefore perfectly possible for ICE to remedy
15   the on-going violation of Plaintiffs’ rights—and all those of the Proposed Class—by
16   selectively releasing certain detainees under appropriate conditions of confinement, in
17   order to facilitate adequate social distancing at the facility.
18         Moreover, as this Court has repeatedly stressed, the individuals in question here
19   are civil detainees who have already served the sentences required by a criminal
20   conviction, if any. See Castillo TRO at *5. If they were U.S. citizens, they would
21   already be free from any kind of state supervision, deemed rehabilitated and no further
22   risk to the public. The notion that their different immigration status transforms them
23   into such a public danger that they categorically cannot be released—even under
24   careful supervision and even during a life-threatening pandemic—is simply baseless.
25
     30
26     The Intensive Supervision Appearance Program, or ISAP, “relies on the use of
     electronic ankle monitors, biometric voice recognition software, unannounced home
27   visits, employer verification, and in-person reporting to supervise participants.”
     Lorenzen-Strait Decl. ¶ 15, Robles Rodriguez, Case No. 5:20-cv-627-TJH-GJS (Mar.
28   30, 2020), ECF No. 22.


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1    Indeed, in prisons across the country, thousands of individuals who are still serving
2    the terms of their incarceration have been released, as governments recognize that the
3    need to mitigate the spread of COVID-19 in many instances outweighs the state
4    interest in continued detention.31 The fact that by contrast hardly any civil immigration
5    detainees have been voluntarily released anywhere in the country plainly reflects a
6    political judgment rather than a public safety one. It is precisely at such times, when
7    a government’s political priorities may encourage it to ignore the rights of society’s
8    most marginalized and powerless, that the judiciary’s vital role in safeguarding our
9    system of constitutional rights is at its most profound.
10         C.     A Comprehensive Response to the Constitutional Violations at
                  Adelanto is Necessary.
11
12         The only way for the Adelanto detainees to have equal access to potentially life-
13   saving relief is a class-wide remedy. This Court has already stated that, “[u]nless an
14   Adelanto habeas case is filed as a class action, each case shall be limited to a single
15   petitioner.” Castillo v. Barr, Minute Order, Case No. 5:20-cv-00605-TJH (C.D. Cal.
16   Apr. 7, 2020), ECF No. 37. Should the Court deny Plaintiffs’ motion for provisional
17   class certification, dozens, perhaps hundreds of individual Adelanto detainees will
18   likely file claims for relief depending on their access to lawyers. The result will be
19   vastly under-inclusive and likely unfair. All of the Proposed Class Members are at
20   grave risk of COVID-19 infection under their current conditions of confinement,
21   regardless of whether their circumstances permit them to file individual claims.
22         Last week a district court in Massachusetts certified a class of civil detainees
23   held at two detention centers in Bristol County, Massachusetts, recognizing that a
24   systemic remedy was necessary “in order to protect everyone [in the facility] from the
25
     31
        See Responses to COVID-19 pandemic, Prison Policy Initiative (Apr. 10, 2020)
26   (collecting instances where jails and prisons have released detainees due to COVID-
     19), https://www.prisonpolicy.org/virus/virusresponse.html#releases; see, e.g., Paige
27   St. John, California to release 3,500 inmates early as coronavirus spreads inside
     prisons, L.A. Times (Mar. 31, 2020) https://www.latimes.com/california/story/2020-
28   03-31/coronavirus-california-release-3500-inmates-prisons (describing California’s
     plan to accelerate release for thousands of state prison inmates).
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1    impending threat of mass contagion.” See Savino v. Sousa, Mem. & Order at 7, 23,
2    29, Case No. 20-cv-10617-WGY (D. Mass. Apr. 8, 2020), ECF No. 64 (emphasis
3    added). That court issued an order requiring a reduction of the population of those
4    detention centers on an expedited, individualized basis. Id. at 28.
5          Plaintiffs propose that this Court adopt a similar procedure here, as set forth in
6    the Proposed Order. Such an approach would largely track the procedure that this
7    Court has already adopted in providing relief on an individualized basis, allowing this
8    Court to assess the individual circumstances of detainees at Adelanto, and craft
9    appropriate conditions of release, as it has done in the dozens of habeas petitions it
10   has granted. But it would also allow for a systematic and expeditious process where
11   the vindication of any given detainee’s constitutional rights does not turn on access to
12   counsel, language and educational skills, or sheer luck. It would also reduce the
13   intense burden on the Court’s resources that comes with claim-by-claim adjudication.
14   And it would allow claims for relief to be processed fast enough that there is a chance
15   social distancing could be established at Adelanto before a serious outbreak has
16   occurred. Of course, nothing in Plaintiffs’ Proposed Order bars Defendants from
17   implementing an alternative plan to rapidly reduce the population to a level where
18   they could implement social distancing at the facility.
19         ICE, however, has steadfastly refused to implement such a system to date—
20   leaving no doubt that this Court’s intervention is desperately needed. If this Court does
21   not act, it is clear nothing will change at Adelanto. Instead, the Government will
22   defend each individual habeas action by pointing to the same strategies—like
23   sanitation, hand-washing and temperature checks—that this Court has already found
24   inadequate time and again. While this Court’s case-by-case attention has provided
25   vital relief for many endangered detainees, only system-wide relief can prevent the
26   tragedy the Government is courting.
27         This Court should grant the preliminary injunction, adopt Plaintiffs’ proposal
28   for considering release requests on an expedited basis, and keep that system in place

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1    until the Government takes the necessary steps to cease the ongoing system-wide Fifth
2    Amendment violation at Adelanto.
3    V.    CONCLUSION
4          This Court should grant Plaintiffs’ motion for a preliminary injunction, and
5    grant the relief requested in Plaintiffs’ Complaint.
6                                                    Respectfully submitted,
7
     Dated: April 13, 2020                           /s/ Amanda Barnett
8                                                    AMANDA BARNETT
9                                                    Counsel for Plaintiffs

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